Case 1:07-cv-02433-CBA-RER Document 94-9 Filed 04/28/11 Page 1 of 3 PagelD #: 759

EXHIBIT “F”
= / EDUCATIONAL COMMISSION FOR 3624 Market Street
“© @ECT FM G FOREIGN MEDICAL GRADUATES Phitadelphia PA 19104-2685 USA
215-386-5900 } 215-386-9767 Fax
, www.ecimg.org

Personal and Confidential

Via Federal Express
August 16, 2006

 

Mr. Anand Emanuel Dasrath
89-25 209 St.
Queens Village, NY 11427

Re: USMLE™/ECFMG® Identification No. 0-704-162-7
Dear Mr. Dasrath:

_ this is to advise that ECFMG is not releasing your score report for the USMLE
Step 1 that you took on duly 27, 2006.

This is because ECFMG has recently received information Indicating that you
had not all eligibility requiremenis to take the examination. Specifically, you were not
enrolled as a student in medical school at the time you took the examination. ECFMG |

- received notice dated August 14, 2006 from Ross University School of Medicine .
indicating you had been “withdrawn” from the medical school. The medical school -
stated the date of your withdrawal was May 22, 2006.

USMLE and ECFMG policy requires a medical school student to be enrolled in
‘medical school both at the time the individual applies for ihe examination and at the:
time. the individual takes the examination. Although -you may have been enrolled in:
medical schooi at the time you applied for the examination, based on the information
provided by Ross University School of Medicine, you have since been “withdrawn.”
Since you were’ no longer enrolled at Ross University School of Medicine, you were |
ineligible to take the examination. ,

if there is an error in the records of the medical school, you must resolve it with
.. the medical schoo! immediately... As is stated in the ECFMG Information Booklet,

“If your eligibility for am exam changes after you apply but before you take
the exam, your are required to inform ECFMG immedi lately of this change
in your status.” .

Also note the following statements in the USMLE Bulletin of Information,
“If your eligibility for a Step or Step Component changes after you submit
your application but before your scheduled test date(s), you must notify

ECFNG® is an organization committed to promoting excellence in international medical education. -
. Mr. Anand Emanuel Vasr

 

Augusi +6, 2006
Page 2

your registration entity promptly. Failure to notify your registration entity
that you may no longer be eligible to take the examination may result in
a determination of irreguiar behavior (see pages 31-32). If you take a
Step or Step Component for which you are not eligible, scores for that
examination may not be reported or, if previously reported, may be
revoked.”

You must also write to ECFMG immediately to provide an explanation why you
took the USMLE Step 1 when you were not enrolled as a. medical school student at
Ross University School of Medicine. ECFMG -must receive your written explanation
within fifteen (15) days of your receipt of this letter.

if you have any questions or need additional information, please let me know.
My telephone number is (215) 823-2277, my fax number is (215) 386-9767 and my
email address is bkelly@ ecfmg.org.

  

illiam C.%elly

_ Director, Credentialing and .
Record Services

 
